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           HAVLISH PLAINTIFFS’ RENEWED MOTION
    FOR AN ORDER CREATING A COMMON BENEFIT FUND AND
     AUTHORIZING CERTAIN DISBURSEMENTS THEREFROM




             EXHIBIT 1
             Case 1:03-md-01570-GBD-FM
             Case 1:17-cv-02003-GBD-SN Document
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UNITED ST ATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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          TERRORIST ATTACKS ON
          SEPTEMBER 11, 2001                                                                       l t       ( ' •• ·1 .         '··        ·~
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Ashton v. al Qaeda Islamic Army, 02-cv-6977 (GBD) (FM) ("Ashton");                   . . .-.........~.:_.~~~~~- ~ /./)/;                                                                           '
Federal Insurance Co. v. al Qaida, 03-cv-6978 (GBD) (FM) ("Federal Insurance");                        ~~":;::<,.!J l~j
Havlish v. bin Laden, 03-cv-9848 (GBD) (FM) ("Havlish"); and                                                  <:.~'.'.':>... f.r
Estate of.John P. 0 'Neill, Sr., v. Republic of Iraq, 04-cv-l 076 (GBD) (FM) ("O'Neill")                                 ··, .

GEORGE B. DANIELS, District Judge:

          The Havlish Plaintiffs recently moved for an order requiring the Ashton, Federal Insurance, and

0 'Neill Plaintiffs (collectively, "Respondents") to deposit eight percent of any damages recovered from

Iran into a common benefit fund to compensate the Havlish Plaintiffs for their efforts in securing a default

judgment against Iran, and upon which this Court relied in entering default judgments against Iran on

behalf of Respondents. (Havlish Plaintiffs' Motion for an Order Creating a Common Benefit Fund to

Compensate and Reimburse Havlish Attorneys for Services Performed and Expenses Incurred in

Developing and Presenting Evidence Establishing Liability and Damages against Defendant The Islamic

Republic of Iran, (ECF No. 3235).)

          On July 12, 2016, Magistrate Judge Maas issued a Report and Recommendation advising this

Court to deny the Havlish Plaintiffs' motion without prejudice to its later renewal.                                                                        (Report and

Recommendation ("Report"), (ECF No. 3309), at 2, 7.) Magistrate Judge Maas based his recommendation

on the fact that it would be premature to reach the merits of the motion because at this point the amount

of effort Respondents will expend to collect their award from Iran, and the sums, if any, that they will

actually recover, would be pure speculation. (See id. at 4-7.)
          Case 1:03-md-01570-GBD-FM
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       The Report notified the parties of their right to object to the Report's findings and

recommendations. (Id. at 5.) No objections have been filed.




objects. 28 U.S.C. § 636(b)(l); Fed. R. Civ. P. 72(b)(3). If clear notice has been given of the consequences

of failure to object, and there are no objections, the Court may adopt the Report without de nova review.

See Mario v. P & C Food Mkts., Inc., 313 F.3d 758, 766 (2d Cir.2002) ("Where parties receive clear notice

of the consequences, failure timely to object to a magistrate's report and recommendation operates as a

waiver of further judicial review of the magistrate's decision."). The Court will excuse the failure to object

and conduct de nova review if it appears that the magistrate judge may have committed plain error. See

Spence v. Superintendent, Great Meadow Corr. Facility, 219 F .3d 162, 174 (2d Cir. 2000). No such error

appears here. This Court adopts the findings and recommendation set forth in the Report in their entirety.

(See Report.)

       The Havlish Plaintiffs' motion requiring Respondents to deposit eight percent of any damages

recovered from Iran into a common benefit fund is denied without prejudice to its later renewal. The

Clerk of Court is directed to close the motion docketed as ECF No. 3235.

       Dated: August 1, 2016
       New York, New York




                                                                          es District Judge




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